               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

                                    MINUTE SHEET

UNITED STATES OF AMERICA                             Date:   November 4, 2015

vs.                                                  Case No.: 13-4052-17-CR-C-BCW

JIMMY DEAN MOORE



Honorable Brian C. Wimes, presiding at Jefferson City, Missouri

Nature of Hearing: Sentencing

Time Commenced: 12:14 pm                              Time Terminated: 12:44 pm

                                    APPEARANCES

Plaintiff=s counsel: Michael Oliver, AUSA
Defendant=s counsel: John Murray
Probation officer: Tracey D. Cowin


PROCEEDINGS IN COURTROOM: Above parties present. Court accepts plea of guilty
         and adjudication of guilt. There are objections to the Presentence Report;
         evidence and arguments presented. Court adopts P.S.I.R. without change.
         Court asserts statutory guidelines. Counsel makes sentence
         recommendations. Defendant accorded allocution.

SENTENCE: Defendant sentenced to the custody of BOP for 36 months on Count 1 of the
          second superseding indictment; followed by 3 years supervised release on
          Count 1 of the second superseding indictment. Standard/Additional
          Conditions of Supervision imposed. FINE: waived; MSA: $100. Dft
          advised of right to appeal. All remaining counts dismissed by motion of the
          government. Defendant ordered to self-surrender in 45 days on December
          19, 2015 at 12:00 p.m.



Court Reporter: Denise Halasey
Courtroom Deputy: Carrie James




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